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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

BETTY STEWART; et al.                          §
                                               §
v.                                             §       CIVIL ACTION NO. 4:21-cv-597-O
                                               §
TARRANT COUNTY, TEXAS                          §


                           JOINT STIPULATION OF DISMISSAL

         NOW COME Plaintiffs Betty Stewart, Jimmy Stewart, Alyssa Christian Stewart,

 Savannah Brooke Stewart, Cole Stewart, and Dean Glenn Stewart and Defendant Tarrant

 County, Texas, by and through their undersigned counsel of record, who hereby represent that

 they have obtained the consent of each of their respective clients to enter into this stipulation. In

 accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and the terms of the parties’

 settlement agreement, the matters in issue in the above-entitled action have been resolved.

 Plaintiffs Betty Stewart, Jimmy Stewart, Alyssa Christian Stewart, Savannah Brooke Stewart,

 Cole Stewart, and Dean Glenn Stewart and Defendant Tarrant County, Texas hereby

 STIPULATE and AGREE that this action (including any and all claims that have been or could

 have been alleged by Plaintiff in the above-referenced action against Tarrant County, Texas,

 Lionel Sanchez, Nicholas Bernal, Christopher Castillo, Clarence Dixon, and Christina Chavez)

 shall be, and hereby is, DISMISSED WITH PREJUDICE, with each party to bear its own fees,

 costs, and expenses.




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                                Respectfully submitted,

                            By: /s/ Christopher J. Gale _______________________
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                                ATTORNEYS FOR PLAINTIFFS



                            By: /s/ M. Keith Ogle
                                M. KEITH OGLE
                                State Bar No. 24037207
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                                SHAREN WILSON
                                CRIMINAL DISTRICT ATTORNEY
                                TARRANT COUNTY, TEXAS

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                                ATTORNEY         FOR      TARRANT      COUNTY,
                                TEXAS




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                                   CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the above and foregoing document was served upon
the following parties in accordance with the provisions of Rule 5, FED. R. CIV. P., on October 28,
2022:

Christopher J. Gale                          Via Electronic Filing
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                                             /s/ M. Keith Ogle
                                             M. KEITH OGLE
                                             Assistant Criminal District Attorney




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